            Case 1:20-cv-10642-LJL Document 42 Filed 01/28/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X             1/28/2021
                                                                       :
STATE OF NEW YORK, STATE OF CALIFORNIA,                                :
STATE OF ILLINOIS, STATE OF MARYLAND, and :
STATE OF MINNESOTA,                                                    :
                                                                       :   20-cv-10642 (LJL)
                                             Plaintiffs,               :
                                                                       :       ORDER
RURAL & MIGRANT MINISTRY, ALIANZA                                      :
NACIONAL DE CAMPESINAS, EL COMITE DE                                   :
APOYO A LOS TRABAJADORES AGRÍCOLAS,                                   :
FARMWORKER ASSOCIATION OF FLORIDA,                                     :
MIGRANT CLINICIANS NETWORK, PINEROS Y                                  :
CAMPESINOS UNIDOS DEL NOROESTE, RURAL                                  :
COALITION, UNITED FARM WORKERS, and                                    :
UNITED FARM WORKERS FOUNDATION,                                        :
                                                                       :
                                         Consolidated Plaintiffs, :
                                                                       :
                                 -v-                                   :
                                                                       :
UNITED STATES ENVIRONMENTAL PROTECTION :
AGENCY and ANDREW WHEELER, in his official                             :
capacity as Administrator of the United States                         :
Environmental Protection Agency,                                       :
                                                                       :
                                             Defendants.               :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        By order and opinion dated December 29, 2020, the Court granted a temporary
restraining order enjoining the EPA from implementing a final rule, which would have rolled
back portions of the Agricultural Worker Protection Standard. Rural & Migrant Ministry v.
Environmental Protection Agency, 20-cv-10645, Dkt. No. 37 (S.D.N.Y. Dec. 29, 2020). Shortly
before the temporary restraining order was set to expire, the Government alerted the Court that it
had discovered an error in the factual basis underlying the final rule. The Government had cited
this incorrect information in its briefing and at oral argument.
        The Court now issues an amended opinion reflecting the facts that have now come to
light. The amended opinion is revised only with respect to two footnotes (fns. 1, 4), which
explain the new information. The amended opinion includes no changes to the Court’s reasoning
or conclusions.
        Case 1:20-cv-10642-LJL Document 42 Filed 01/28/21 Page 2 of 2




      SO ORDERED.


Dated: January 28, 2021                   __________________________________
       New York, New York                            LEWIS J. LIMAN
                                                 United States District Judge




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